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      Attorneys for Plaintiffs

 7                        UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9    RENATA KING,                              ) Case No. 2:15-cv-04043-CAS-PJW
10                                              )
      Plaintiff,                                ) NOTICE OF SETTLEMENT
11
                                                )
12           vs.                                )
13                                              )
      HARRIS & HARRIS, LTD,                     )
14                                              )
15    Defendant.                                )
                                                )
16
17           NOW COMES THE PLAINTIFF by and through her attorney to respectfully
18    notify this Honorable Court that this case has settled.
19
20           Plaintiff requests that this Honorable Court vacate all pending hearing dates
21    and allow sixty (60) days with which to file dispositive documentation. A Joint
22    Stipulation of Dismissal will be forthcoming. This Court shall retain jurisdiction
23    over this matter until fully resolved.
24
25
                          Respectfully submitted this 22nd day of October, 2015.
26
                                          By: s/Todd M. Friedman
27                                           TODD M. FRIEDMAN
28                                           Law Offices of Todd M. Friedman, P.C.
                                             Attorney for Plaintiff

                                     NOTICE OF SETTLEMENT
                                               -1-
     Case 2:15-cv-04043-CAS-PJW Document 10 Filed 10/22/15 Page 2 of 2 Page ID #:53




 1    Filed electronically on this 22nd day of October, 2015, with:

 2    United States District Court CM/ECF system
 3
      Notification sent electronically via the Court’s ECF system to:
 4
 5    Honorable Christina A. Snyder
 6
      United States District Court
      Central District of California
 7
 8
      Aji N Abiedu
 9    Hinshaw and Culbertson LLP
10
      Justin M Penn
11
      Hinshaw and Culbertson LLP
12
13
      This 22nd day of October, 2015.
14
15    s/Todd M. Friedman
      Todd M. Friedman
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                                    NOTICE OF SETTLEMENT
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